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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION

MACKINAC CENTER
FOR PUBLIC POLICY,

                     Plaintiff,                          Case No. 1:23-cv-10795

v.                                                       Honorable Thomas L. Ludington
                                                         United States District Judge
U.S. DEPARTMENT OF EDUCATION, et al.

                  Defendants.
______________________________________/

                                       JUDGMENT

       In accordance with the Opinion and Order issued today:

       It is ORDERED that Defendants’ Motion to Dismiss, ECF No. 25, is GRANTED.

       Further, it is ORDERED that the above-captioned case is DISMISSED WITHOUT

PREJUDICE, for lack of Article III standing.

       This is a final order and closes the above-captioned case.

       Dated: July 18, 2024                       s/Thomas L. Ludington
                                                  THOMAS L. LUDINGTON
                                                  United States District Judge
